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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


                                        *
UNITED STATES OF AMERICA,               *
                                        *
                v.                      *     CRIMINAL NO. 1:22-336-SAG
                                        *
                                        *
ANNA GABRIELIAN and                     *
JAME LEE HENRY,                         *
                                        *
                     Defendants.




               DEFENDANTS’ MOTION IN LIMINE TO
         PRECLUDE INFLAMMATORY POLITICAL STATEMENTS

      During a recorded meeting with an FBI undercover (“UC”) on August 17, 2022,

Defendant Jamie Henry made critical and inflammatory statements about Barack

Obama, Hillary Clinton, George W. Bush, and Dick Cheney. The potential prejudice

from Dr. Henry’s remarks substantially outweighs any probative value. The Court

should preclude reference to such statements under Federal Rules of Evidence 401,

402, and 403.

                            FACTUAL BACKGROUND

      The Indictment charges Dr. Gabrielian and her husband Dr. Jamie Henry with

giving the UC Individually Identifiable Health Information (“IIHI”) to assist the

Russian government by demonstrating:

            1) the level of GABRIELIAN and HENRY’s access to IIHI of U.S.
            personnel, 2) GABRIELIAN and HENRY‘s willingness to
            provide IIHI to the Russian government, and 3) the potential for
            the Russian government to gain insights into the medical
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            conditions of individuals associated with the U.S. government
            and military.

Indictment, Count I (Conspiracy), paragraph 8.

      Surreptitious government recordings show that before her arrest in September

2022, Dr. Gabrielian was working long hours as an anesthesiologist at Johns Hopkins

University Hospital (“JHU”) in Baltimore, and was the primary caregiver for her two

young sons. She was spending extra hours helping a Ukrainian colleague at JHU

who was trying to supply Ukraine with medical assistance, including mobile

ultrasounds to improve battlefield treatment, triage, and anesthesia. That colleague

was also advocating the use of mobile ultrasounds to improve maternity care in

Ukraine.

      Dr. Gabrielian had naively attempted to offer the same kind of medical

assistance to Russia. On March 1, 2022, Dr. Gabrielian sent innocuous emails from

her JHU email account to the Moscow School of Medicine and the Russian embassy.

A rough English translation of the Moscow School of Medicine email reads:

            Good afternoon, I'm an obstetric anesthesiologist at Johns
            Hopkins Institute in Baltimore. I would not want my medical
            colleagues in Russia to be cut off from the international medical
            community and am ready to participate in some sort of
            collaboration with you. I can speak Russian, but not perfectly.
            Please let me know if you're interested in a joint project.
      A rough translation of the Russian embassy email reads:

            Good afternoon. My husband and I are both doctors. I'm an
            anesthesiologist, he works in [critical care or ICU]. We are ready
            to help if there is a need. We support life, and do not want to cut
            Russia off from the international community.




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       More than five months later, on August 17, 20222, the UC approached Dr.

Gabrielian in a JHU parking lot as Dr. Gabrielian was walking to work. Before that

approach, the Government apparently did not investigate whether the Defendants

were planning criminal activity. The UC met with Dr. Gabrielian alone that

afternoon. At one point during their conversation, the UC said, “Let’s go back once

again, like, to your specialty specifically, and could you, well, describe at least a little

bit in what area this help could be applied to the current conflict situation that’s

happening now.”

       Dr. Gabrielian responded, “As I understand it, the Russian University requires

exchange now, that is no one wants to collaborate with them. . . . I can collaborate

with them. I mean to restore these bridges . . . ” After a digression, the UC asked, “So,

restore relations with . . .” Dr. Gabrielian responded, “The medical sphere. . . . Share

protocols. I mean whatever we have at Hopkins, you have it too, if you want it.” The

UC asked “Protocols for what exactly?” Dr. Gabrielian said, “Oh, protocols for

different anesthesia. That is, epidural anesthesia for parturients. Everything that we

have, you have it, too. . . . I think my husband could explain and tell you more.

Because he has even those clinics . . . as to how set up a hospital for the wounded. I

mean what items are needed there . . .. I mean, he has all this information. I mean

he is a more important person right now, than me.”

       Several times, the UC asked for confidential or “special access” information.

Dr. Gabrielian tried to explain that she had no access to confidential information, and

that if she tried to access the medical record of anyone important, she would be fired:



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             . . . No, I mean, when I offered, I knew what I was offering. But
             regarding good information—I really don’t have any. What can I
             do? Yes, if someone is important, I can enter that chart once, for
             which I can be fined big time. If I publish something with the
             Russian institute I can still say these are my colleagues, this is
             international work. . . . So as for this information, we cannot give
             it to you. If we do give it, then that’s it.

      The UC met with both Defendants later that evening. The UC met with Dr.

Gabrielian alone on August 24. The UC finally met with both Defendants on August

31. Searching for a crime two doctors would actually be in a position to commit, the

UC persuaded Defendants to share a few random scraps of medical records related to

two JHU patients and five patients treated at Fort Bragg (none active military).

      During one of the recorded meetings on August 17, 2022, Dr. Henry explained

that he was meeting with the UC because of “hate of war.” Dr. Henry then said:

      Dr. Henry: We have an ideology too that is very rigid, black and white –
      a lot of Islamists are, and Christians as well – it creates a lot of violence,
      and potential violence. And um, you know the way that I am viewing
      what is going on right now in Ukraine is that the United States is using
      Ukrainians as a proxy for their own hatred towards Russia. I think the
      current administration has hatred toward Russia because Hillary
      Clinton lost in 2016 and I think Obama was offended by Putin because
      Obama is an effeminate man and he is intimidated by the values that
      Putin has just as many Americans are offended by Trump when he
      presents himself um and I think it is personality driven partly and a lot
      of people are dying as a result of people’s arrogance and personality.

      Dr. Gabrielian: A lot more people died than needed to. Because of what
      we…. Um, America has done is prolong the bloodbath.

      Dr. Henry: Not only that, you look at what we have done in Libya for
      instance. Hillary Clinton is very proud of what she has accomplished in
      Libya which is basically creating anarchy, there is slave trades going on
      in Libya now. Talk about oil being wasted. Oil being used to support
      terrorism. It is insane. And she is proud of it. And it is uh . . .

      Dr. Gabrielian: I do think we are on the same page

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        Dr. Henry: At least George W Bush in his recent speech in Texas he had
        this Freudian slip – “oh and that too”– you know

        UC: yeah, I heard that too

        Dr. Henry: It’s like he actually feels guilt. I don’t think Dick Cheney feels
        any guilt for what he has done. It is very clear from his daughter when
        given a chance.
                                      ARGUMENT

        Federal Rule of Evidence 401 defines “relevant evidence” as “evidence having

a tendency to make the existence of any fact that is of consequence to the

determination of the action more or less probable than it would be without the

evidence.” If the evidence does not help establish the proposition that a defendant

committed an offense charged, then the evidence is irrelevant and must be excluded.

United States v. Ewings, 936 F.2d 903, 905 (7th Cir. 1991); United States v. Miller,

549 F. Supp. 2d 1312 (D. Kan. 2008). “Evidence which is not relevant is not

admissible.” Fed. R. Evid. 402.

        There is no logical connection between this exchange and the Government’s

theory that Defendants provided HIPAA information with the intent to cause

malicious harm by helping Russian intelligence. To the contrary, Dr. Henry was

expressing disdain for war and conflict. Additionally, Dr. Henry went on to offer

legitimate medical assistance, expressing a view that “both sides need a lot of help.

So people don’t die.” Dr. Henry’s political diatribe is irrelevant to the Government’s

case.

        Further, Rule 403 gives the Court power to exclude relevant evidence if its

“probative value is substantially outweighed by a danger of one or more of the

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following: unfair prejudice, confusing the issues, misleading the jury, undue delay,

wasting time, or needlessly presenting cumulative evidence.” “The prejudice which

the rule is designed to prevent is jury emotionalism or irrationality.” United States v.

Hernandez, 975 F.2d 1035, 1041 (4th Cir. 1992) (citing United States v. Greenwood,

796 F.2d 49, 53 (4th Cir. 1986)). The Court should exclude evidence when “there is a

genuine risk that the emotions of the jury will be excited to irrational behavior, and

that this risk is disproportionate to the probative value of the offered evidence.” Id.

(citing United States v. Masters, 622 F.2d 83, 87 (4th Cir. 1980) (quoting Trautman,

Logical or Legal Relevancy-A Conflict in Theory, 5 Vand.L.Rev. 385, 410 (1951-52)).

      While Dr. Henry’s political statements have little, if any, probative value, they

create a real and unjustified risk of inflaming the jury. Politics is one of the most

divisive and polarizing topics in today’s discourse. Dr. Henry’s use of inflammatory

language to insult politicians on both sides of the aisle creates a genuine and

unjustifiable risk of jury prejudice.

                                    CONCLUSION

      The Court should preclude the Government from admitting any evidence or

testimony related to Dr. Henry’s inflammatory statements quoted above.

                                  Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      I hereby certify that on the 21st day of April 2023, a true and correct copy of

the foregoing was electronically filed and served on counsel for the United States

through ECF.

                                                      /s/ Noah Cherry




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